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                        UNITED STATES COURT OF APPEALS
                                           FOR THE
                              SECOND CIRCUIT
                _____________________________________________

        At a stated term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
24th day of July, two thousand twenty-three.

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 United States Securities and Exchange Commission,

              Plaintiff - Appellee,

 v.                                                          ORDER
 Elon Musk,                                                  Docket No: 22-1291

           Defendant - Appellant.
 _______________________________________


       Appellant, Elon Musk, filed a petition for panel rehearing, or, in the alternative, for
rehearing en banc. The panel that determined the appeal has considered the request for panel
rehearing, and the active members of the Court have considered the request for rehearing en banc.


       IT IS HEREBY ORDERED that the petition is denied.


                                                   FOR THE COURT:
                                                   Catherine O'Hagan Wolfe, Clerk
